      Case 4:19-cv-00066-MW-MAF Document 35 Filed 11/01/19 Page 1 of 1




         IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION

ALICIA RODRIGUEZ,

             Plaintiff,
v.                                     Case No. 4:19cv66-MW/CAS

MAXIM HEALTHCARE
SERVICES, INC.,

          Defendant.
_________________________/

          ORDER GRANTING MOTION TO STAY DISCOVERY
            PENDING RULING ON MOTION TO DISMISS

      This Court has considered, without hearing, Defendant’s Motion to Stay

Discovery Pending Court’s Ruling on Motion to Dismiss. ECF No. 34. The motion

is GRANTED over the opposition of Plaintiff. Discovery is stayed pending this

Court’s ruling on the motion to dismiss. At such time, if necessary, this Court shall

set new deadlines.

      SO ORDERED on November 1, 2019.

                                       s/Mark E. Walker
                                       Chief United States District Judge
